Case 1:18-cv-00336-RC Document 6-4 Filed 06/11/18 Page 1 of 4




                  Exhibit B
The Reform Party Nominates Roque De La Fuente and Returns to Form - Reform Party National Committee
                              Case 1:18-cv-00336-RC Document 6-4 Filed 06/11/18 Page 2 of 4




                 Reform Party National
                      Committee
             Honest Leadership, Real
                    Solutions
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        Community


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            Status of Bylaws, Constitution and Platform                            Reform Party of North Carolina Supports Roque De
                                                                                           La Fuente’s Lawsuit Over Ballot Access 



        The Reform Party Nominates Roque De La Fuente
        and Returns to Form
        For Immediate Release – The Reform Party has chosen Roque “Rocky” De La Fuente as its
        presidential contender. Between Rocky’s campaign and party efforts, Roque De La Fuente and the
        Reform Party have successful put together approximately twenty five ballot lines, but hope to
        establish ballot access in up to forty-two states. With this effort, the Reform Party has returned to form
        and is once again an organized political force.

        Roque De La Fuente is a first generation American born at Mercy Hospital in San Diego, California.
        He was educated in both Mexico and the United States. He obtained Bachelor Degree in Physics and
        Mathematics. He furthered his education by taking accounting and business classes at Anahuac
        University near Mexico City and the University of San Diego. He graduated Magna Cum Laude.

        Following in his father’s footsteps, he became a successful entrepreneur by acquiring twenty eight car
        dealerships in the United States and Mexico before selling twenty seven of them. He has experience
        in banking, and also owns commercial properties located in both the United States and Latin America.

        Roque De La Fuente decided to run for President when he saw Donald Trump alienate large
        segments of the population. Formerly running as a Democrat for President, Roque De La Fuente
        joined the Reform Party because the Democratic Establishment stacked the nomination against him


http://www.reformparty.org/press-releases/reform-party-nominates-roque-de-la-fuente-returns-form/[6/11/2018 3:23:51 PM]
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                          Case 1:18-cv-00336-RC Document 6-4 Filed 06/11/18 Page 3 of 4
        in favor of Hillary Clinton.

        “Roque De La Fuente is a good addition to the Reform Party, and I have no problem backing his
        campaign,” said Reform Party Secretary Nicholas Hensley. “If we can obtain presidential ballot
        access in forty two states, the Reform Party will return to form, and once again stand proud in
        opposition to the political establishment”.

        As the leading moderate, centrist and populist political party, the Reform Party of the United States
        represents the sixty percent of moderate voters ignored by the Democratic and Republican
        incumbents. It stands against the special interests, and seeks to end their grasp on American
        government by electing principled leaders and promoting social change.

        For more information about the Reform Party or Roque De La Fuente, it is possible to learn more at
        www.reformparty.org.

        For more information Contact:

        Nicholas Hensley

        Secretary@reformparty.org

        Share this:




                                               Nicholas Hensley
                                                 




        Warning: in_array() expects parameter 2 to be array, null given in
        /home/reformp3/public_html/reformparty.org/wp-content/themes/graphene/inc/plugins.php on
        line 89

           THE GROSS NATIONAL DEBT




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                              Case 1:18-cv-00336-RC Document 6-4 Filed 06/11/18 Page 4 of 4
            National Debt Clock



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